
971 So.2d 268 (2008)
N.D.E., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D07-3633.
District Court of Appeal of Florida, First District.
January 7, 2008.
Nancy A. Daniels, Public Defender, and Glen P. Gifford, Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
In this juvenile delinquency appeal, we reverse and remand for further proceedings because the reasons given by the trial court for departing from the recommendation of the Department of Juvenile Justice that appellant be placed in a moderate-risk facility and, instead, ordering a high-risk placement failed to identify the characteristics of such a placement that would better meet appellant's needs than would a moderate-risk placement and were in part unsupported by any evidence. See, e.g., R.T. v. State, 946 So.2d 112, 113 (Fla. 1st DCA 2007) (citing cases); J.A.R. v. State, 923 So.2d 604, 605 (Fla. 2d DCA 2006).
REVERSED and REMANDED.
KAHN, WEBSTER, and ROBERTS, JJ., concur.
